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                      Exhibit A
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From:                    Ambra S. Jackson
Sent:                    Friday, April 21, 2023 11:49 AM
To:                      mlopes@pldolaw.com; colemanspecialmaster@pldo.com; MBien@rbgg.com; LElls@rbgg.com;
                         EGalvan@rbgg.com; dspecter@prisonlaw.com; sfama@prisonlaw.com; kwalsh@pldolaw.com
Cc:                      v_Damon.McClain@doj.ca.gov; v_Elise.Thorn@doj.ca.gov; Paul B. Mello; Samantha Wolff
Subject:                 Coleman v. Newsom, E.D. Cal., Case No. 90-cv-00520 KJM
Attachments:             2023-04-21 LTO OSM Ps re Experts.pdf


Hello:

Please see attached correspondence for the above‐referenced matter. Should you have any questions, please do not
hesitate to contact our office.


Thank you,
Ambra

  Ambra S. Jackson
  Legal Secretary
  Hanson Bridgett LLP
  (415) 995-6455 Direct
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  425 Market Street, 26th Floor
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 San Francisco | Sacramento | North Bay | East Bay | Los Angeles



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April 21, 2023


VIA E-MAIL

Matthew Lopes                                        Michael Bien
Coleman Special Master                               Ernest Galvan
Pannone Lopes Devereaux & O’Gara LLC                 Lisa Ells
Northwoods Office Park                               Rosen Bien Galvan & Grunfeld LLP
1301 Atwood Ave., Ste. 215 N.                        101 Mission Street, Sixth Flr.
Johnston, RI 02919                                   San Francisco, CA 94105


Re:      Status update re: Defendants’ staffing experts
         Coleman v. Newsom, E.D. Cal., Case No. 90-cv-00520 KJM

Dear Special Master Lopes and Class Counsel:

On September 14, 2020, Defendants filed their response to the Court’s July 30, 2020 Order, and
informed the Coleman Court and Plaintiffs’ counsel that “Defendants retained an expert group to
provide consultation, and if needed, expert testimony, regarding the novel issues presented by the
Court’s order.” ECF 6853 (Defendants’ Response to the Court’s July 30, 2020 Order) at 29:1-3;
see also ECF 6885-1 (Declaration of James R. Robertson). Specifically, Voorhis/Robertson
Justice Services, LLC (VRJS) and Falcon, Incorporated (Falcon) were retained to conduct a
comprehensive study on the 2009 Staffing Plan, the relationship between the 2009 Staffing Plan
to general requirements of the Program Guide, and whether changes in circumstances since
development of the 2009 Staffing Plan warrant modifications to the 2009 Staffing Plan or
alternatives to come into compliance with the 2009 Staffing Plan. ECF 6885-1 at ¶ 1. This letter
is to provide an update to the Special Master and Plaintiffs’ counsel on the status of this work
and to advise you of the next steps.

In late August 2022, the State’s retained experts at VRJS/Falcon prepared a memorandum
memorializing their general methodology and initial set of observations and recommendations.
The experts did not intend for this memorandum to be a final report or an exhaustive recording
of data collected, data analyzed, research strategies, methodologies or formulations, nor did the
memorandum include formal expert opinions. Instead, the memorandum recommended that “a
broader, more comprehensive study is warranted and recommended for evaluating the quality
and adequacy of CDCR’s mental health care and programming being provided within its
facilities.” (See Attachment at 1.) A true and correct copy of this August memorandum is
enclosed as an attachment.



Hanson Bridgett LLP
425 Market Street, 26th Floor, San Francisco, CA 94105
                                                                                           19528262.5
Special
  CaseMaster   Lopes
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Class Counsel
April 21, 2023
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Consistent with that recommendation, Defendants engaged VRJS/Falcon to conduct a broader,
systemwide study of the Mental Health Services Delivery System. The experts at VRJS/Falcon
have been conducting their evaluation of the system since that time, and it will likely include on-
site visits in the future – currently estimated to begin in July 2023. Defendants will work closely
and collaboratively with members of the Special Master’s team and Plaintiffs’ counsel (and their
expert, if any) to coordinate your attendance at these tours if you wish to be present.

Please note that while Defendants have retained experts to evaluate the MHSDS, Defendants
have not made any decision to move for termination and are therefore not providing notice
pursuant to this Court’s February 21, 2018 Order. ECF 5794. Defendants may, in the future,
take action to terminate or modify all or parts of this case – or none at all – pending the experts’
determination and recommendation(s), at which time Defendants will provide six months’ notice
as required by this Court’s February 21, 2018 Order.



Very truly yours,




Paul B. Mello
Partner


Attachment

cc (via e-mail, with Attachment):
        Kerry Walsh
        Donald Specter
        Steven Fama
        Coleman Special Master
        Team Coleman Team – RBG
        Only Co-Counsel




                                                                                            19528262.5
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                   ATTACHMENT
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CONFIDENTIAL
To:                Rob Bonta, Attorney General
                   State of California Department of Justice
From:              Jim Robertson, Principal, VRJS
                   Elizabeth M. Falcon, PsyD, CCHP-MH, Principal, Falcon, Inc.
Date:              August 26, 2022
Subject:           Consultant Contract in the Matter of: Coleman, Ralph, et al. v. Gavin Newsom, et al.
                   Agreement Number: 21-031U




VRJS and Falcon, Inc. were engaged by the State of California Attorney General’s Office to perform
a staffing analysis and study. The focus of the staffing analysis and study was on the provision of
mental health services and treatment for inmates confined to the California Department of
Corrections and Rehabilitation’s (CDCR) custody in 33 state-run facilities across the State of
California. At the heart of VRJS and Falcon, Inc.’s inquiry were the staffing levels and patient-to-
provider staffing ratios adopted and ordered by the federal court.1

This document is intended to memorialize our general methodology and our initial set of
observations and recommendations, recognizing that the scope of our study has been limited to an
evaluation of CDCR’s Mental Health Services Delivery System (MHSDS) Mental Health staffing.
This memo is not a final report, nor an exhaustive recording of the data collected, data analyzed,
research strategies, methodologies, or formulations. This memo does not include formal expert
opinions. Rather, a broader, more comprehensive study is warranted and recommended for
evaluating the quality and adequacy of CDCR’s mental health care and programming being
provided within its facilities. The full results of this staffing study may be more appropriately
integrated into a formal expert report following completion of a comprehensive system-wide
analysis.

In October of 2020, VRJS/Falcon formed a multi-disciplinary team of consultants and corrections
experts to independently assess and report objectively on answers to questions posed by CDCR.
The team consisted of mental health, medical, and security operations experts from across the
country, many of whom are recognized as industry leaders and all of whom have worked
extensively in correctional settings. Led by Jim Robertson and Dr. Elizabeth Falcon, this team
sought to address the following inquiries:


1 See, the 2021 Annual Update to the Mental Health Services Delivery System (MHSDS) Program Guide and 2021 Update of the
Compendium of Custody Related Remedial Measures, referred to as “the Program Guide”. See also the 2009 Staffing Allocation Model,
referred to as the “2009 Staffing Plan.”

                                                                1
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       1. Does CDCR’s mental health program meet or exceed industry or nationwide standards?
          Does CDCR’s delivery of care meet or exceed industry or nationwide standards?
       2. Considering the changed circumstances in the delivery of mental health care in prisons
          since 2009, does the 2009 Staffing Plan need updating? If it does, what does that
          updating look like for the mental health staff in each facility?
       3. How does CDCR’s program and delivery of care compare to the group of Departments
          of Correction used in the development of 2009 staffing ratios?
       4. What does VRJS/Falcon see as alternate ideas/plans for mental health staffing positions
          or a combination of positions which are needed to meet the requirements of the
          Program Guide?
To answer the study questions above, the VRJS/ Falcon team engaged in a multi-method approach
that involved:
       •   Document Reviews
       •   Data Collection and Analysis
       •   Literature Reviews
       •   Standardized Interviews of CDCR Personnel
       •   Standardized Patient Chart Reviews
       •   Standardized Facility Tours
       •   Standardized Virtual Facility Studies
       •   Study of Selected States Navigating Similar Litigation
       •   Evaluation of CDCR MHSDS Program Guide (2020 and 2021 Revisions) and 2009
           Staffing Plan
       •   Evaluation of Nationwide Standards (i.e., National Commission on Correctional
           Healthcare (NCCHC))
       •   Analysis and Formulation of Data

This study ran for a period of 18 months (October 2020 to March 2022). The methodologies used
in VRJS/Falcon’s Staffing Analysis were designed to inform understanding of the questions listed
above. These extensive fact-finding activities were followed by integration and synthesis of
information, with quantitative and qualitative data extracted from all data sources and all system
levels. These data sets then formed the basis for VRJS/Falcon’s preliminary observations and
recommendations.

VRJS/Falcon Observations and Recommendations

Notably, results from this study found that CDCR’s Program Guide exceeds nationwide standards.
However, additional study is warranted to determine how services are implemented and delivered
on-site.

It is VRJS/Falcon’s observation that as of this study period, the 2009 Staffing Plan ratios continue to
be adequate to support the Program Guide, with the model allowing for core staff and core
allocations to adequately sustain and service the Program Guide requirements. Accordingly, no


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augmentation to the 2009 staffing plan ratios is necessary to support the Program Guide
requirements at this time.

VRJS/Falcon found that staffing levels required by the Program Guide exceed national consensus
standards and exceed the levels needed for providing clinically adequate care for patients in a
correctional setting. In many instances, it was also found that CDCR’s staffing plan exceeds staffing
standards in other comparison states studied. Of course, CDCR should continue to address
recruitment and retention concerns.

VRJS/Falcon observed staffing allocation inefficiencies warranting continued examination. VRJS/
Falcon recommends a facility-by-facility review, conducted by leadership and staff to:
       •   Strengthen lines of communication, from top-down and bottom-up, with Headquarters
           making clear in all facilities, the objectives and purpose in making staffing policy
           adjustments.
       •   Routinely examine staffing allocations at the site-level, develop a better understanding of
           how allocations are made, and identify and eliminate inefficiencies.
       •   Improve systemwide standardization. Identify and establish leadership personnel
           specifically responsible for staffing levels at each facility to improve accountability.

VRJS/ Falcon recommends considering a realignment of the Program Guide to align with
nationwide standards more closely, which will allow for more efficient and effective allocations of
staffing and improved outcomes for treatment and programming.

Some efficiencies could quickly be achieved by considering the following alternatives and best
practice models:
       •   Expand the scope and role of Psychiatric Nurse Practitioners (PNPs).
       •   Expand the number and scope of masters-prepared Qualified Mental Health
           Professionals, such as Licensed Clinical Social Workers (LCSWs) and Licensed
           Professional Clinical Counselors (LPCCs) in clinical positions; explore the options
           available for assigning individuals in these job classes to specialist positions.
       •   Consider the conversion of a portion of Psychologist positions to masters-prepared
           Qualified Mental Health Professionals for clinical work.
       •   Re-examine the functions and necessity of Psychologist Specialists.
       •   Expand the use of telepsychiatry and incorporate services beyond psychiatry. This
           would include improving access to psychological and other clinical services for
           incarcerated persons via remote solutions.

As a next step, VRJS/Falcon strongly recommends CDCR undertake a broader, systemwide study
of mental healthcare delivery to more fully understand how services are delivered, the quality of
care delivered, and how Program Guide requirements are conducted on site. We also recommend
assessing how this delivery of care compares to nationwide standards, community standards, and
other similar State Departments of Correction.

                                                  3
